Case 1:19-cr-02320-MV Document 2 Filed 07/25/19 Page 1ofBT_ ED

UNITED STATES DISTRICT COURT
ALBUQUERQUE, NEW MEXICO

IN THE UNITED STATES DISTRICT COURT JUL 25 2019
FOR THE DISTRICT OF NEW MEXICO MITCHELL R. ELFERS
CLERK
UNITED STATES OF AMERICA, )
) ; on
Plaintiff, ) CRIMINAL NO, IA 19270 NV
)
VS. ) Count 1: 18 U.S.C. §§ 1153, and 1111:
) First Degree Murder; 18 U.S.C. § 2:
DARRELL DESIDERIO and ) Aiding and Abetting;
ERVIN YAZZIE, )
) Count 2: 18 U.S.C. §§ 1153 and 1201(a):
Defendants. ) Kidnapping Resulting in Death;
)
) Count 3: 18 U.S.C. §§ 1153 and 1201(c):
) Conspiracy to Commit Kidnapping.
INDICTMENT
The Grand Jury charges:
Count 1

On or about June 7, 2018, in Indian Country, in McKinley County, in the District of New
Mexico, the defendants, DARRELL DESIDERIO and ERVIN YAZZIE, Indians, unlawfully
killed John Doe with malice aforethought, in that the defendants killed John Doe willfully,
deliberately, maliciously, with premeditation, and in the perpetration of a kidnapping and
robbery, by stabbing John Doe with a knife and beating John Doe with a golf club.

In violation of 18 U.S.C. §§ 1153, 1111 and 18 U.S.C. § 2.

Count 2

On or about June 7, 2018, in Indian Country, in McKinley County, in the District of New
Mexico, the defendants, DARRELL DESIDERIO and ERVIN YAZZIE, Indians, did unlawfully
and knowingly seize, confine, inveigle, decoy, kidnap, abduct, and carry away John Doe, for some

purpose and benefit, resulting in the death of any person.

In violation of 18 U.S.C. §§ 1153 and 1201 (a).

 
Case 1:19-cr-02320-MV Document 2 Filed 07/25/19 Page 2 of 3

Count 3
On or about June 7, 2018, in Indian Country, in McKinley County, in the District of New
Mexico and elsewhere, the defendants, DARRELL DESIDERIO and ERVIN YAZZIE,
Indians, unlawfully, knowingly and intentionally combined, conspired, confederated, agreed, and
acted interdependently with each other to seize, confine, inveigle, decoy, kidnap, abduct, and
carry away John Doe for some purpose and benefit, and, John Doe’s death resulted.
Overt Acts
In furtherance of the conspiracy, and to effect the object thereof, the following overt acts,
among others, were committed in Indian Country, in the District of New Mexico:
Overt Act 1
On or about June 7, 2018, DARRELL DESIDERIO and ERVIN YAZZIE agreed to
acquire a vehicle.
Overt Act 2
On or about June 7, 2018, ERVIN YAZZIE inveigled John Doe by telling him that
DARRELL DESIDERIO could locate some females willing to party with John Doe.
Overt Act 3
On or about June 7, 2018, DARRELL DESIDERIO inveigled John Doe by instructing
him to drive to a remote area to locate some females willing to party with John Doe.
Overt Act 4

On or about June 7, 2018, DARRELL DESIDERIO held a knife to John Doe’s neck.
 

Case 1:19-cr-02320-MV Document 2 Filed 07/25/19 Page 3 of 3

Overt Act 5
On or about June 7, 2018, DARRELL DESIDERIO instructed ERVIN YAZZIE to
retrieve John Doe’s keys.
Overt Act 6
On or about June 7, 2018, ERVIN YAZZIE warned John Doe not to resist.
Overt Act 7
On or about June 7, 2018, ERVIN YAZZIE attempted to retrieve John Doe’s keys.
Overt Act 8
On or about June 7, 2018, DARRELL DESIDERIO stabbed John Doe with a knife and
beat John Doe with a golf club.
In violation of 18 U.S.C. §§ 1153 and 1201(c).

A TRUE BILL:

/s/
FOREPERSON OF THE GRAND JURY

 

BOSnen

Assistant United States Attorney

iC L T/ASAS 10:10 am

 
